Case 2:03-cV-02330-SHI\/|-ch Document423 Filed 08/03/05 Pagelof? ‘Page|D 40

IN THE UNITED STATES DISTRICT COURT '
FOR TH WE
E STERN DISTRICT OF TENNESSEE 05 gus _3 PH 2; 25

 

WESTERN DIVISION
LECTROLARM CUSTOM ) W\g&giéi§€mgajil
SYSTEMS, INC., ) CLEH>D OF TN MEW'I'\B
Plaiotiff, §
v. § NO. 03-2330 Ma/An
VICON INDUSTRIES, INC., et al., §
Defendants. §

 

ORDER

 

Before the Court is Defendant GE ]nterlogix, lnc.’s (“GE”) Motion to Compel the
Deposition of Williarn V. Smith, or in the Alternative, to Compel the Production cfa Detailed
Description of Mr. Smith’s Medical Condition filed on March ll, 2005.

Mr. William V. Smith (“Srnith”) is 73 years old and is Plaintiff’ s president and founder.
Although Defendants issued a Notice of Deposition for Smith on October 29, 2004, Plaintiff
argues that Smith should not be required to appear at a deposition because of a medical condition
and disability Plaintiff has provided Defendants with a handwritten note from Dr. Daniel S.
Fearnow, Smith’s treating physician, which states that Smith is unable to appear for a deposition.
The note specifically notes that Smith “is, at present, not able to provide a deposition in
connection with his company’s Iawsuit.” (Mern. in Opp. to Mot. to Compel, at 3). Smith
suffered from an aneu.rism, Which Plaintiff argues has affected his memory and physical health.

Plaintiff argues that while Smith is recovering, he is nevertheless “physically frail” and “has not

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Case 2:03-cV-02330-SHI\/|-ch Document 423 Filed 08/03/05 Page 2 of 7 Page|D 741

fully regained his mental faculties, is easily confused, and cannot recall what Was just said
moments earlier.” (Mem. in Opp. to Mot. to Compel, at 1). GE requests in its motion for the
Court to enter an Order compelling Plaintiff to produce Smith for a deposition or to provide GE
with a detailed description of Smith’s medical condition and prognosis for recovery.

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(l). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l). The Court should broadly interpret whether evidence is relevant See Oppenhez'mer
Fund, Inc. v. Sanders, 437 U.S. 340, 351 n.12 (1978). Therefore, so long as he has relevant
information, GE is entitled to depose Smith. Nevertheless, the Court should order a protective
order and prevent discovery from taking place in order to “to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(0). The
Court should not allow Defendants to harass or oppress Smith if he is medically unable to appear
for a deposition; therefore, the Court should balance the rights of GE to pursue relevant
information with the right of Smith not to be oppressed, embarrassed, or subjected to an undue
burden.

While Plaintiff provided Defendants with Dr. Fearnow’s note, the note was provided
almost eight months ago in Novernber 2004, Therefore, after due consideration, it is
ORDERED that Plaintiff shall be required to supply the Court With a report from Smith’s
primary treating physician for in camera review. Plaintiff’s medical report shall describe, in
detail, Smith’s current physical and mental condition The report shall contain a detailed report

on the extent of Smith’s memory loss, whether doctors can objectively say if the aneurism has

Case 2:03-cV-0233O-SHI\/|-ch Document 423 Filed 08/03/05 Page 3 of 7 Page|D 742

materially effected Sr`nith’s memory, and whether Smith is still able to recall facts and
information relevant to this lawsuit. The treating physician shall also be required to conclude,
based upon a reasonable degree of medical certainty, whether or not Smith is capable of
appearing for a deposition lf the treating physician concludes that Smith is not capable of being
deposed, the physician should make a determination on the likelihood or possibility of Smith
being available for a deposition in the future

Plaintiff shall supply the Court with the medical report within 20 days of entry of this
Order. After the Court reviews the medical repolt, the Court will make a determination on the
instant motion

I'I` IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: éd<"ln/' 05/ 200.[/

   

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Case 2:O3-cV-O233O-SHI\/|-ch Document 423 Filed 08/03/05 Page 5 of 7

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Page|D 744

Case 2:O3-cV-O233O-SHI\/|-ch Document 423 Filed 08/03/05 Page 6 of 7 Page|D 745

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Case 2:O3-cV-O233O-SHI\/|-ch Document 423 Filed 08/03/05 Page 7 of 7 Page|D 746

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